Case 2:23-cv-03947-CCC-JSA       Document 21   Filed 11/03/23   Page 1 of 35 PageID: 179




                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY



 DOWC PROVIDER SERVICES, LLC,
 ASSURED PROVIDER SERVICES,   CIVIL ACTION NO. 2:23-CV-3947
 INC., GUARANTEED PROVIDERS   (CCC-JSA)
 SERVICES, INC., SECURE
 PROVIDER SERVICES, INC., AND
 DOWC ADMINISTRATION
 SERVICES, LLC,

                   Plaintiffs,

 v.
                                    MEMORANDUM OF LAW IN
 U.S. AUTO SALES, INC., U.S. AUTO  SUPPORT OF THE MILESTONE
 FINANCE, INC., MILESTONE                  PARTIES’
 PARTNERS, LP, MILESTONE          MOTION TO DISMISS PLAINTIFFS’
 PARTNERS FS AIV LP,                  AMENDED COMPLAINT
 MILESTONE PARTNERS FS AIV 2
 LP, MILESTONE PARTNERS FS
 AIV 3A LP, MILESTONE              MOTION DATE: December 4, 2023
 PARTNERS FS AIV 3B LP,
 MILESTONE PARTNERS FS AIV 3C
 LP, MILESTONE PARTNERS FS
 AIV 3 BUYER LP, WESTLAKE
 SERVICES, LLC. d/b/a WESTLAKE
 FINANCIAL, WESTLAKE
 PORTFOLIO MANAGEMENT, LLC,
 JOHN DOES 1-20 AND ABC CORPS.
 1-20,

                   Defendants.
Case 2:23-cv-03947-CCC-JSA                 Document 21            Filed 11/03/23          Page 2 of 35 PageID: 180




                                         TABLE OF CONTENTS
                                                                                                                 Page(s)

  I.     PRELIMINARY STATEMENT .................................................................... 1

  II.    STATEMENT OF FACTS ............................................................................. 4
         i.   The Nature of the Case ......................................................................... 4
         ii.  Allegations Against the Milestone Parties ........................................... 4
         iii. The Bankruptcy .................................................................................... 6

  III.   LEGAL ARGUMENT.................................................................................... 6
         i.    Rule 12(b)(6) Standard ......................................................................... 6
         ii.   Rule 9(b) Standard................................................................................ 8
         iii. Plaintiffs’ Claims Against the Milestone Parties are Derivative
               and, Therefore, Plaintiffs Lack Statutory Standing to Pursue
               Claims against Milestone as Those Claims Belong Exclusively
               to the Bankruptcy Estate ...................................................................... 9
         iv.   Plaintiffs Fail to State Viable Claims Against the Milestone
               Parties .................................................................................................14
         v.    Count III: Conversion.........................................................................15
         vi.   Count IV: Fraud..................................................................................18
         vii. Count V and Count XI: Declaratory Judgment ..................................20
         viii. Count VI: Breach of the Implied Covenant of Good Faith and
               Fair Dealing ........................................................................................22
         ix.   Count VII: Alter Ego ..........................................................................23
         x.    Count VIII: Unjust Enrichment ..........................................................25
         xi.   Count X: Constructive Trust .............................................................27

  IV.    CONCLUSION.............................................................................................28




                                                            i
Case 2:23-cv-03947-CCC-JSA                 Document 21            Filed 11/03/23         Page 3 of 35 PageID: 181




                                       TABLE OF AUTHORITIES

                                                                                                             Page(s)

  Cases

  Advanced Enterprises Recycling, Inc. v. Bercaw,
    376 N.J. Super. 153 (Super. Ct. N.J. 2005) ..................................................15–16

  Am. Rubber & Metal Hose Co. v. Strahman Valves, Inc.,
    Case No. 11-1279, 2011 WL 3022243 (D.N.J. July 22, 2011) ....................16–17

  Ashcroft v. Iqbal,
     556 U.S. 662 (2009) .............................................................................................. 7

  Austar International Limited v. AustarPharma LLC,
    425 F. Supp. 3d 336 (D.N.J. 2019) ..................................................................... 15

  Baillie Lumber Co. v. Thompson,
     612 S.E. 2d 296 (Ga. 2005) ................................................................................ 11

  Balanced Bridge Funding LLC v. Mitnick Law Office, LLC,
     Civil No. 21-20512, 2022 WL 3593892 (D.N.J. Aug. 23, 2022) .................26–27

  Bd. of Trs. of Teamsters Local 863 v. Foodtown, Inc.,
     296 F.3d 164 (3d Cir. 2002) ............................................................................. 8, 9

  Bell Atlantic Corp. v. Twombly,
     550 U.S. 544 (2007) .............................................................................................. 7

  Black Horse Lane Assoc., L.P. v. Dow Chem. Corp.,
     228 F.3d 275 (3d Cir. 2000) ............................................................................... 22

  In re Buildings by Jamie, Inc.,
      230 B.R. 36 (Bankr. D.N.J. 1998) ...................................................................... 11

  Capital Investment Funding, LLC v. Lancaster Group, LLC,
    Case No. 08-cv-4714, 2023 WL 2728716 (D.N.J. Mar. 30, 2023) ....................16

  Chruby v. Kowaleski,
    534 Fed. Appx. 156 (3d Cir. 2013) ..................................................................... 20

  Cole v. NIBCO, Inc.,
    No. 13-7871, 2015 WL 2414740 (D.N.J. May 20, 2015) .................................. 20

                                                            ii
Case 2:23-cv-03947-CCC-JSA                  Document 21           Filed 11/03/23          Page 4 of 35 PageID: 182




  D&D Tech., Inc. v. CytoCore,
    Civ. A. No. 14-4217, 2014 WL 4367314 (D.N.J. Sept. 2, 2014) ....................... 18

  In re Emoral, Inc.,
      740 F.3d 875 (3d Cir. 2014) .............................................................10, 11, 13, 14

  Erickson v. Pardus,
     551 U.S. 89 (2007) ................................................................................................ 7

  Fischbein v. Olson Research Grp., Inc.,
     959 F.3d 559 (3d Cir. 2020) ................................................................................. 7

  Flanigan v. Munson,
     175 N.J. 597 (N.J. 2003) ..................................................................................... 27

  Frederico v. Home Depot,
     507 F.3d 188 (3d Cir. 2007) ............................................................................... 18

  Gordon v. Nice Systems, Inc,
    Civ. A. No. 18-2168, 2020 WL 2316278 (D.N.J. May 11, 2020)...................... 18

  Great–W. Life & Annuity Ins. Co. v. Knudson,
    534 U.S. 204 (2002) ............................................................................................ 28

  In re Great Atl. & Pac. Tea Co., Inc. Sec. Litig.,
      103 F. App’x 465 (3d Cir. 2004) ........................................................................ 20

  Harrison v. Soroof Int’l, Inc.,
    320 F. Supp. 3d 602 (D. Del. 2018)..............................................................10, 11

  Hatteras Press, Inc. v. Avanti Computer Sys. Ltd.,
    No. 16-5420, 2017 WL 2838349 (D.N.J. June 30, 2017) .................................. 25

  Hirsch v. Travelers Ins. Co.,
     341 A.2d 691 (Sup. Ct. N.J. 1975) ..................................................................... 27

  Jurista v. Amerinox Processing, Inc.,
     492 B.R. 707 (D.N.J. 2013) ..........................................................................25, 28

  Kabbaj v. Google Inc.,
    592 Fed. Appx. 74 (3d Cir. 2015) ....................................................................... 20




                                                            iii
Case 2:23-cv-03947-CCC-JSA                 Document 21           Filed 11/03/23          Page 5 of 35 PageID: 183




  Lee Dodge, Inc. v. Kia Motors Am., Inc.,
     No. 10-5939, 2011 WL 3859914 (D.N.J. Aug. 31, 2011) .................................. 20

  Lord Abbett v. Citigroup Global Markets, Inc.,
     Civ. A. No. 11-5550, 2012 WL 13034154 (D.N.J. July 12, 2012) ...................... 8

  Lum v. Bank of Am.,
    361 F.3d 217 (3d Cir. 2004) .......................................................................6–7, 19

  Maniscalco v. Brother Intern. Corp. (USA),
    627 F. Supp. 2d 494 (D.N.J. 2009) ..................................................................... 25

  Martino v. Everhome Mortg.,
    639 F. Supp. 2d 484 (D.N.J. 2009) ..................................................................... 22

  Mason v. Coca-Cola Co.,
    Civ. A. No. 09-0220, 2010 WL 2674445 (D.N.J. June 30, 2010)...................... 25

  In re Maxus Energy Corp.,
      571 B.R. 650 (Bankr. D. Del. 2017) ................................................................... 14

  In re Mee Apparel, LLC,
      Civ. A. No. 15-5697, 2016 WL 3535805 (D.N.J. June 28, 2016)................10, 11

  Neuss v. Rubi Rose, LLC,
    No. 16-2339, 2017 WL 2367056 (D.N.J. May 31, 2017) .................................. 20

  Peloro v. United States,
     488 F.3d 163 (3d Cir. 2004) ............................................................................... 15

  Presten v. Sailer,
     542 A.2d 7 (Super. Ct. N.J. 1988) ...................................................................... 27

  Scholes Elec. & Commc’ns., Inc. v. Fraser,
     Case No. 04–3898, 2006 WL 1644920 (D.N.J. Jun. 14, 2006).......................... 16

  Sons of Thunder, Inc. v. Borden, Inc.,
     148 N.J. 396 (1997) ............................................................................................ 22

  State Capital Title & Abstract Co. v. Pappas Bus. Servs., LLC,
     646 F. Supp. 2d 668 (D.N.J. 2009) ...............................................................23, 24




                                                           iv
Case 2:23-cv-03947-CCC-JSA                   Document 21             Filed 11/03/23          Page 6 of 35 PageID: 184




  Torsiello v. Strobeck,
     955 F. Supp. 2d 300 (D.N.J. 2013) ..................................................................... 25

  Twin Capital Partners, LLC, v. Wickstrom,
    Civ. A. No. 20-02869, 2020 WL 6747026 (D.N.J. Nov. 17, 2020) ................... 24

  U.S. v. $7,599,358.09,
     Civ. A. No. 10-5060, 2011 WL 3611451 (D.N.J Aug. 15, 2011) ...................... 27

  Vita v. Vita,
     Case No. 21-11060, 2022 WL 376764 (D.N.J. Feb. 8, 2022) ......................16, 18

  Wilson v. Amerada Hess Corp.,
     168 N.J. 236 (2001) ............................................................................................ 22

  In re Wilton Armetale, Inc.,
      968 F.3d 273 (3d Cir. 2020) ............................................................................... 14

  Other Authorities

  11 U.S.C. § 541 .......................................................................................................... 9

  11 U.S.C. § 362 .......................................................................................................... 6

  Fed. R. Civ. P. 9(b) ...........................................................................................passim

  Fed. R. Civ. P. 12 ..............................................................................................passim




                                                               v
Case 2:23-cv-03947-CCC-JSA      Document 21     Filed 11/03/23   Page 7 of 35 PageID: 185




        Milestone Partners, LP,1 Milestone Partners FS AIV LP, Milestone Partners

  FS AIV 2 LP, Milestone Partners FS AIV 3A LP, Milestone Partners FS AIV 3B

  LP, Milestone Partners FS AIV 3C LP, and Milestone Partners FS AIV 3 Buyer LP

  (collectively, the “Milestone parties” or “Milestone”) submit this memorandum of

  law in support of their motion to dismiss the Amended Complaint filed by DOWC

  Provider Services, LLC; Assured Provider Services, Inc; Guaranteed Providers

  Services, Inc.; Secure Provider Services, Inc.; and DOWC Administration Services,

  LLC (collectively, “Plaintiffs”).

  I.    PRELIMINARY STATEMENT

        This is an action for breach of contract between Plaintiffs and U.S. Auto Sales,

  Inc. (“USA Sales”) and U.S. Auto Finance, Inc. (“USA Finance”) relating to

  Plaintiffs’ finance and insurance products sold by USA Sales and/or USA Finance

  to consumers that purchased/financed motor vehicles from them. Plaintiffs are suing

  USA Sales and USA Finance for allegedly failing to pay for those products under

  the operative contracts between these parties. In an attempt to take their claims a

  step further and bring Milestone (who was not a party to any relevant contract) into

  the litigation, however, Plaintiffs also generally allege that Milestone “owned” USA

  Sales and, “on information and belief,” directed or dominated USA Sales’ operations


        1
         Milestone Partners, L.P. is a fictitious name of an entity that was dissolved
  in 2017. It never had any ownership interest in USA Sales or USA Finance.
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23    Page 8 of 35 PageID: 186




  and were otherwise “aware” of USA Sales’ breach of its contracts with Plaintiffs.

  Through these threadbare allegations of control, Plaintiffs attempt to bring claims

  against Milestone for conversion (Count III), fraud (Count IV), declaratory judgment

  (Counts V and XI), breach of the duty of good faith and fair dealing (Count VI), alter

  ego (Count VII), unjust enrichment (Count VIII), and constructive trust (Count X).

  These claims improperly seek to hold Milestone responsible for USA Sales’ alleged

  breach of contract and $18 million in damages for that breach of contract.

        The problem with Plaintiffs’ claims against Milestone is that they are

  premised on alter ego, veil piercing and other derivative forms of liability related to

  USA Sales’ and USA Finance’s conduct, but those parties have filed for bankruptcy.

  Under the Bankruptcy Code, however, the bankruptcy trustee is the only party with

  the statutory authority to assert claims on behalf of the bankruptcy estate, including

  alter ego, veil piercing and other derivative claims against Milestone.

        In addition to this overarching bankruptcy issue that prevents Plaintiffs from

  proceeding with their claims against Milestone, each claim is either not available to

  Plaintiffs as a matter of law or they fail to plausibly allege any cause of action:

        Conversion (Count III): Plaintiffs allege only a debt owed to them under

  contracts with USA Sales and USA Finance and not any specific pot of money that

  was required to be segregated by the Milestone parties for the benefit of the

  Plaintiffs. This forecloses any conversion claim.



                                             2
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23   Page 9 of 35 PageID: 187




        Fraud (Count IV): Plaintiffs allege fraud but fail to meet Federal Rule of Civil

  Procedure 9(b)’s heightened pleading standard. Plaintiffs only allege generally that

  the Milestone parties represented that Plaintiffs would be paid in full under its

  contract(s) with USA Sales—this falls short of plausibly alleging that Milestone

  acted fraudulently.

        Declaratory Judgment (Counts V and XI): Plaintiffs attempt to allege two

  claims for declaratory judgment, but a declaratory judgment is a remedy and not a

  cause of action. In any event, Plaintiffs are not entitled to any such remedy because

  it would have to be based upon a contract claim against Milestone, and Plaintiffs do

  not (because they cannot) allege that they had any contract with Milestone.

        Good Faith and Fair Dealing (Count VI): Plaintiffs allege a claim for breach

  of the duty of good faith and fair dealing, but do not allege a contract with the

  Milestone parties. Therefore, there is no duty of good faith and fair dealing between

  Plaintiffs and the Milestone parties.

        Alter Ego (Count VII): Plaintiffs only allege—without a hint of specificity—

  that the Milestone parties are owners of USA Sales, dominated control over it and

  used it to perpetrate a fraud. Conclusory allegations are insufficient to plead an alter

  ego claim under Rule 12 or Rule 9(b).

        Unjust Enrichment (Count VIII): Plaintiffs attempt to assert a claim for unjust

  enrichment against Milestone but have not and cannot allege that they expected any



                                             3
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23   Page 10 of 35 PageID:
                                        188



 remuneration from the Milestone parties because any remuneration would be

 through Plaintiffs’ contract(s) with USA Sales and/or USA Finance.

       Constructive Trust (Count X): Plaintiffs attempt to assert a “claim” for a

 constructive trust, but a constructive trust is an equitable remedy based upon a viable

 claim for unjust enrichment, which the Plaintiffs do not have.

       As explained more fully below, all Plaintiffs’ claims against the Milestone

 parties should be dismissed for lack of standing and/or for failure to state a claim.

 II.   STATEMENT OF FACTS

       i.       The Nature of the Case

       At the heart of this matter is an alleged breach of contract and relationship

 between Plaintiff DOWC Provider Services (“DOWC”) and USA Sales. According

 to the Plaintiffs, USA Sales collected funds for the sale of DOWC products to

 consumers, but USA Sales failed to pay DOWC over $17,000,000. Plaintiffs allege

 that they are owed this amount from USA Sales under various agreements between

 USA Sales and DOWC.

       ii.      Allegations Against the Milestone Parties

       As it relates to the Milestone parties, Plaintiffs include a limited number of

 allegations in their Amended Complaint, many of which either ignore or conflict

 with the allegations that it is USA Sales and DOWC that are parties to the contracts

 at issue and there is no right of payment from Milestone. Particularly, Plaintiffs only

 allege that:

                                           4
Case 2:23-cv-03947-CCC-JSA      Document 21      Filed 11/03/23   Page 11 of 35 PageID:
                                       189



                   “[U]pon information and belief,” Milestone, as the “owners” of
                    USA Sales, directed it to cease operations. Am. Compl. ¶¶ 2, 95
                    [ECF No. 10].

                   Milestone owes DOWC more than $17,000,000 “arising from
                    the Agreements.” Id. ¶ 3.

                   Milestone retained consumer funds and failed to remit them to
                    DOWC. Id.

                   At the time DOWC and USA Sales entered into the Agreements,
                    Milestone was the owner of USA Sales and dominated its
                    operations. Id. ¶ 30.

                   Milestone was aware that USA Sales did not remit consumer
                    funds to DOWC. Id. ¶¶ 89-90.

                   USA Sales took operational direction from Milestone. Id. ¶ 119.

                   Milestone interfered with DOWC’s right to payment for its
                    products and kept funds owed to DOWC. Id. ¶¶ 124-126.

                   Milestone represented to DOWC that it would be paid in full. Id.
                    ¶¶ 130-131.

                   Milestone was the owner of USA Sales and controlled and
                    dominated it. Id. ¶¶ 159-160, 163.

                   Milestone retained funds owed to DOWC as profits. Id. ¶ 161.

                   Milestone used USA Sales to perpetrate a fraud. Id. ¶ 164.
       While Plaintiffs allege, as noted above, that the Milestone parties failed to

 remit payments to DOWC and, therefore, they owe more than $17,000,000 to

 DOWC, this directly contradicts the Plaintiffs’ other allegations regarding the nature

 of the relationships and contracts at issue. See Am. Compl. ¶ 1 (“This matter arises

 out of a contractual relationship between DOWC and USA Sales for the sale of



                                           5
Case 2:23-cv-03947-CCC-JSA       Document 21      Filed 11/03/23   Page 12 of 35 PageID:
                                        190



 DOWC finance and insurance products . . . to consumers . . . .”); id. ¶ 25 (DOWC

 Products are sold through, inter alia, motor vehicle dealerships by way of

 Administration and Provider Agreements.”); id. ¶ 28 (DOWC and USA Sales are

 parties to the Provider Agreement); id. ¶ 29 (DOWC and USA Sales are parties to

 the Administration Agreement); id. ¶¶ 103-111 (claim for breach of contract under

 all the agreements between DOWC and USA Sales). There is no allegation that the

 Milestone parties are parties to any of the contracts with Plaintiffs.

        iii.   The Bankruptcy

        On August 25, 2023, USA Sales and USA Finance each filed a voluntary

 petition under Chapter 7 of Title 11 of the United States Code in the United States

 Bankruptcy Court for the District of Delaware. Both bankruptcy cases are jointly

 administered under the case styled as In re U.S. Auto Sales, Inc., et al., Case No. 23-

 11251 (TMH) (Bankr. D. Del. Aug. 25, 2023). By letter dated September 7, 2023

 and docketed on September 12, 2023, counsel for debtors advised this Court of the

 bankruptcy and automatic stay under § 362 of the Bankruptcy Code. Sept. 12, 2023

 Ltr. Regarding Suggestion of Bankruptcy [ECF No. 9].

 III.   LEGAL ARGUMENT

        i.     Rule 12(b)(6) Standard

        In reviewing a motion to dismiss, pursuant to Rule 12(b)(6), the Court

 considers “the allegations in the complaint, exhibits attached to the complaint,

 matters of public record, and documents that form the basis of a claim” as well as

                                            6
Case 2:23-cv-03947-CCC-JSA       Document 21      Filed 11/03/23    Page 13 of 35 PageID:
                                        191



 documents that are “integral to or explicitly relied upon in the complaint.” Lum v.

 Bank of Am., 361 F.3d 217, 221 n.3 (3d Cir. 2004) (quoting In re Burlington Coat

 Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997)), abrogated on other

 grounds, In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 323 n.23 (3d Cir. 2010).

 To defeat a motion to dismiss, a complaint must contain sufficient factual matter to

 state “a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2009). Indeed, the purpose of the notice pleading standard is that the defendant

 is entitled to “fair notice of what the . . . claim is and the grounds upon which it

 rests.” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (quoting Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 555 (2007)).

       In other words, more is required than “labels and conclusions” and “a

 formulaic recitation of the elements of a cause of action will not do.” Twombly, 550

 U.S. at 555. Nor will courts accept legal conclusions couched as factual allegations

 to satisfy pleadings requirements. Iqbal, 556 U.S. at 678. “Factual allegations must

 be enough to raise a right to relief above the speculative level,” Twombly, 550 U.S.

 at 555, and where they do not adequately plead “a claim of entitlement to relief,”

 dismissal is warranted. Id. at 558; see Fischbein v. Olson Research Grp., Inc., 959

 F.3d 559, 561 (3d Cir. 2020) (on a motion to dismiss, “we disregard threadbare

 recitals of the elements of a cause of action, legal conclusions and conclusory

 statements” (citation omitted)).



                                            7
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23   Page 14 of 35 PageID:
                                        192



       ii.    Rule 9(b) Standard

       Plaintiffs also allege claims for fraud, which are subject to Rule 9(b)’s

 heightened pleading standard requiring a plaintiff to “state with particularity the

 circumstances constituting fraud.” Fed. R. Civ. P. 9(b). “To comply with Rule 9(b),

 the circumstances surrounding the alleged fraud must be sufficiently pled so as to

 put the defendant on notice of the precise misconduct with which it is charged.”

 Lord Abbett Municipal Income Fund, Inc. v. Citigroup Global Markets, Inc., Civ. A.

 No. 11-5550 (CCC), 2012 WL 13034154, at *4 (D.N.J. July 12, 2012) (Cecchi, J.).

 A plaintiff can meet Rule 9(b)’s standard by specifying the “who, what, when,

 where, and how: the first paragraph of any newspaper story.” See id.; see also Bd. of

 Trs. of Teamsters Local 863 v. Foodtown, Inc., 296 F.3d 164, 173 n. 10 (3d Cir.

 2002) (“The requirements of rule 9(b) may be satisfied if the complaint describes

 the circumstances of the alleged fraud with precise allegations of date, time, or place

 or by using some means of injecting precision and some measure of substantiation

 into their allegations of fraud.” (citation and emphasis omitted)). The heightened

 pleading standard “not only gives defendants notice of the claims against them, but

 also combats ‘frivolous suits brought solely to extract settlements’ from defendants

 and ‘provides an increased measure of protection for their reputations.’” Lord

 Abbett, 2012 WL 13034154, at *4 (quoting In re Burlington Coat Factory Sec. Litig.,

 114 F.3d at 1418).



                                           8
Case 2:23-cv-03947-CCC-JSA        Document 21      Filed 11/03/23    Page 15 of 35 PageID:
                                         193



       Finally, Rule 9(b)’s this heightened pleading standard not only applies to

 Plaintiffs’ fraud count, but it also applies to Plaintiffs’ alter ego count as they alleged

 that the Milestone parties used USA Sales as an instrument of fraud. Bd. of Trs. of

 Teamsters Loc. 863, 296 F.3d at 173, n. 10 (explaining that “[w]hen a cause of action

 seeks to pierce the corporate veil on the basis of fraud, it is subject to Fed. R. Civ.

 P. 9(b)[’s]” heightened pleading standards).

       iii.   Plaintiffs’ Claims Against the Milestone Parties are Derivative and,
              Therefore, Plaintiffs Lack Statutory Standing to Pursue Claims
              against Milestone as Those Claims Belong Exclusively to the
              Bankruptcy Estate

       Plaintiffs lack statutory standing to assert claims against the Milestone parties.

 The claims Plaintiffs attempt to assert against Milestone based on an alter ego theory

 are clearly derivative and belong exclusively to the bankruptcy estate. Moreover,

 Plaintiffs’ other claims are also derivative as there is no direct relationship between

 the Milestone parties and Plaintiffs and, therefore, no duties owed by the Milestone

 parties to Plaintiffs. Thus, while the derivative liability claims against Milestone are

 camouflaged with labels that might appear to render them direct claims, in truth

 Plaintiffs’ claims are based on an allegation that Milestone owned or controlled USA

 Sales and directed it to cease operations. Only the bankruptcy trustee may assert

 such claims, and they must be dismissed in this Court.

       The filing of a bankruptcy creates an “estate” that is generally comprised of

 “all legal or equitable interests of the debtor.” 11 U.S.C. § 541. Once an estate is


                                             9
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23   Page 16 of 35 PageID:
                                        194



 created, the bankruptcy trustee has exclusive authority to assert claims that are

 property of the estate. In re Emoral, Inc., 740 F.3d 875, 879 (3d Cir. 2014)

 (acknowledging that creditors “lack standing to assert claims that are property of the

 estate”); Harrison v. Soroof Int’l, Inc., 320 F. Supp. 3d 602, 612-13 (D. Del. 2018)

 (holding that claims are property of the estate after reviewing the factual allegations

 in the complaint and noting that the allegations could have been asserted by any

 number of creditors to establish alter ego liability); In re Mee Apparel, LLC, Civ. A.

 No. 15-5697, 2016 WL 3535805, at *4–8 (D.N.J. June 28, 2016) (reversing a

 bankruptcy court’s decision and holding that general claims alleging veil-

 piercing/alter ego were property of the bankruptcy estate). A claim is property of

 the estate if (i) it existed at the commencement of the bankruptcy filing and the

 debtor could have asserted the claim on its own under state law; and (ii) it is, by

 looking at the nature of the claim, a general claim with no particularized

 injury. Emoral, 740 F.3d at 879; Harrison, 320 F. Supp. 3d at 612-13; Mee Apparel,

 2016 WL 3535805, at *4–5.

       First, the claims asserted against Milestone existed as of the August 25, 2023

 petition date, see Sept. 7, 2023 Ltr. [ECF No. 9], and Plaintiffs seek damages for

 conduct that allegedly occurred between September 2021 and April 2023. Am.

 Compl. ¶¶ 52, 76, 82–83, 91–94, 107–08.




                                           10
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23   Page 17 of 35 PageID:
                                        195



       Assuming that Milestone directed USA Sales to withhold payments from

 Plaintiffs (which the Amended Complaint does not plausibly allege), USA Sales

 could assert an alter ego claim against Milestone under any of the applicable state

 laws including Georgia (where USA Sales is domiciled), New Jersey (where the

 Complaint and Amended Complaint were filed) and Delaware (where the

 bankruptcy cases are pending). Georgia, New Jersey and Delaware all permit a

 subsidiary to assert alter ego claims against its parent corporation. Emoral, 740 F.3d

 at 880–81 (applying New Jersey law and finding that it would permit a debtor to

 assert an alter ego or veil-piercing theory against its parent); Harrison, 320 F. Supp.

 3d at 616 (applying Delaware law); Mee Apparel, 2016 WL 3535805, at *4–5

 (applying New Jersey law); In re Buildings by Jamie, Inc., 230 B.R. 36, 43 (Bankr.

 D.N.J. 1998) (applying New Jersey law); Baillie Lumber Co. v. Thompson, 612 S.E.

 2d 296, 300–01 (Ga. 2005) (applying Georgia law).

       Second, Plaintiffs’ claims against Milestone are general in nature. The

 Amended Complaint specifically alleges improper conduct by USA Sales, but its

 allegations against Milestone are general at best. As the alter ego allegations could

 be asserted by any creditor of USA Sales, the claims belong to the bankruptcy estate

 and the bankruptcy trustee has exclusive authority to pursue claims against

 Milestone.




                                           11
Case 2:23-cv-03947-CCC-JSA      Document 21      Filed 11/03/23   Page 18 of 35 PageID:
                                       196



       Plaintiffs’ conclusory allegations of Milestones’ control over USA Sales

 demonstrate these are general claims. The Amended Complaint alleges broadly that

 “Milestone was the owner of USA Sales and dominated its operations,” Am. Compl.

 ¶ 30, and that the Chief Executive Officer represented to Plaintiffs that USA Sales

 was directed by Milestone. Id. ¶¶ 159–60. However, these broad allegations of

 control are not limited to only the claims between Plaintiffs and USA Sales. At no

 point do Plaintiffs allege that USA Sales intentionally represented to only Plaintiffs

 that Milestone controlled its operations or otherwise assert that Milestone

 intentionally held itself out only to Plaintiffs in a specific way. Plaintiffs concede

 this in the Amended Complaint when they assert: (i) that the Chief Executive Officer

 emailed all of USA Sales’s employees and stated Milestone controlled its operations,

 id. ¶ 159, and (ii) that “Milestone controlled US Sales’ operational funds and

 received USA Sales’ profits, which included, in part” certain funds owed to

 Plaintiffs. Id. ¶ 160 (emphasis added). By Plaintiffs’ own admissions, USA Sales

 represented to other constituencies, including employees and parties contributing to

 its profits, that Milestone controlled its operations. These broad allegations of

 control and dominion are therefore “general” in nature, and the claims asserted via

 an alter ego theory belong to the bankruptcy estate.

       Moreover, Plaintiffs appear to recognize that the alter ego claims against

 Milestone are general in nature. The Amended Complaint asserts that USA Sales’s



                                          12
Case 2:23-cv-03947-CCC-JSA       Document 21       Filed 11/03/23   Page 19 of 35 PageID:
                                        197



 conduct harmed other consumers. Id. ¶ 80 (stating that USA Sales was aware that

 its failure to pay “left the consumers” without an in force product); id. ¶ 90 (asserting

 that USA Sales’s failure to pay “made the consumer loans” defective); id. ¶ 162

 (“USA Sales and Milestone would perpetrate a fraud or injustice upon DOWC and

 the consumers.”); id. ¶ 163 (asserting that the alleged conduct “resulted in fraudulent

 and injurious consequences for DOWC and consumers”); id. ¶ 164 (alleging that a

 fraud was perpetrated on “the consumers that purchased the DOWC Products”). If

 the claims asserted by Plaintiffs were specific “with a particularized injury,”

 consumers would not have been harmed by the same conduct (i.e. USA Sales’s

 failure to pay for the DOWC products) and would not be able to use the same

 assertions to pursue claims against Milestone. Moreover, if Plaintiffs’ assertions

 that Milestone controlled and dominated USA Sales’s operations were true, the

 claims in the Amended Complaint would inure to the benefit of every customer with

 a DOWC product that is “not in force” because Plaintiffs’ alter ego claim against

 Milestone is based on the same facts that are generally available to every other

 creditor. Plaintiffs’ own assertions, therefore, reinforce the fact that the alter ego

 claims against Milestone are general in nature.

       The fact that Plaintiffs’ damages stem from the agreements with USA Sales

 is irrelevant. Under the Third Circuit’s Emoral decision, the question of whether a

 claim belongs to a bankruptcy estate requires an analysis of the nature of the claim—



                                            13
Case 2:23-cv-03947-CCC-JSA        Document 21   Filed 11/03/23   Page 20 of 35 PageID:
                                         198



 not the particularized injury stemming from an agreement. Emoral, 740 F.3d at 879.

 Courts following Emoral have held that claims can be property of the bankruptcy

 estate even if they stem from a specific agreement. See In re Maxus Energy Corp.,

 571 B.R. 650, 658 (Bankr. D. Del. 2017) (stating that although certain alter ego

 claims were “unique” in that they stemmed from an agreement that could be invoked

 by only the creditor, the claims were “general” because they were based on an alter

 ego theory which could be asserted by any creditor).

       For the foregoing reasons, the claims against Milestone based on an alter ego

 theory and all other claims that are derivative belong to the bankruptcy estate and

 can only be asserted by the bankruptcy trustee. Plaintiffs, therefore, lack standing

 to assert claims against Milestone on an alter ego theory, and the Complaint should

 be dismissed as to Milestone.2

       iv.    Plaintiffs Fail to State Viable Claims Against the Milestone Parties

       Even if the Court were to determine that Plaintiffs’ have standing or the power

 to assert the alter ego claim and the other derivative claims, they should still be




       2
         The Third Circuit has acknowledged some confusion as it relates to
 “standing” in the context of creditors asserting claims that are reserved for the
 bankruptcy trustee. While the creditor may have constitutional standing, it does
 not have statutory standing under the Bankruptcy Code. As such, it is the
 bankruptcy trustee that is vested with the power to assert claims against the
 Milestone parties at this point and time and Plaintiffs lack that power. See In re
 Wilton Armetale, Inc., 968 F.3d 273, 280-281 (3d Cir. 2020).


                                          14
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23    Page 21 of 35 PageID:
                                        199



 dismissed for failure to state a claim. The claims asserted against the Milestone

 parties either do not exist as a matter of law or fail to meet the requisite pleading

 standards.

       v.     Count III: Conversion

       Under New Jersey law, conversion “is essentially the wrongful exercise of

 dominion and control over the property of another in a manner inconsistent with the

 other person’s rights in that property.” Peloro v. United States, 488 F.3d 163, 173–

 74 (3d Cir. 2004) (citation omitted). To state a claim for conversion, Plaintiffs must

 assert (i) the existence of property, (ii) its right to immediate possession of the

 property, and (iii) the defendants’ wrongful interference with such right. Austar Int’l

 Ltd. v. AustarPharma LLC, 425 F. Supp. 3d 336, 357 (D.N.J. 2019).

       The “property” at issue here is not the type of property that is the usual subject

 of a conversion cause of action. Rather, it is simply money or amounts that DOWC

 alleges is due under its contracts with USA Sales. A claim for conversion of money,

 however, is closely scrutinized. A plaintiff cannot transform a breach of contract

 claim into a conversion claim. Advanced Enterprises Recycling, Inc. v. Bercaw, 376

 N.J. Super. 153, 161 (Super. Ct. N.J. 2005). If the parties’ positions are more akin

 to a debtor-creditor relationship,3 a claim for conversion must fail:



       3
         The Milestone parties are not even the debtor here as the debtor under the
 contractual relationship with DOWC is USA Sales. This is yet another reason that

                                           15
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23    Page 22 of 35 PageID:
                                        200



          An action for conversion will not lie in the context of a mere debt
          . . . , however. Where there is no obligation to return the identical
          money, but only a relationship of a debt and creditor, an action for
          conversion of the funds representing the indebtedness will not lie
          against the debtor.

 Id. (citing 18 Am. Jur. 2d Conversion § 8 (2004)). Indeed, courts routinely reject

 conversion claims where the parties were in a debtor-creditor relationship. Id.; see

 also, e.g., Capital Investment Funding, LLC v. Lancaster Group, LLC, Case No. 08-

 cv-4714, 2023 WL 2728716, at *14 (D.N.J. Mar. 30, 2023) (granting summary

 judgment on a conversion claim because the parties stood in a creditor-debtor

 relationship); Vita v. Vita, Case No. 21-11060, 2022 WL 376764, at *3 (D.N.J. Feb.

 8, 2022) (dismissing a conversion claim under Rule 12(b)(6) because the plaintiff

 merely alleged that, according to a contract between the parties, the defendants owed

 her money).     Thus, the money subject to a claim for conversion should be

 “identifiably the plaintiff’s property” or there should be an obligation “to segregate

 such money for the plaintiffs’ benefit.”       Scholes Elec. & Commc’ns., Inc. v.

 Fraser, Case No. 04–3898, 2006 WL 1644920, at *5 (D.N.J. Jun. 14, 2006); see also

 Am. Rubber & Metal Hose Co. v. Strahman Valves, Inc., Case No. 11-1279, 2011

 WL 3022243, at *7 (D.N.J. July 22, 2011) (“[A]llegedly converted money is deemed




 Plaintiffs cannot plead a viable cause of action against the Milestone parties—
 because they never took possession of any discrete property of Plaintiffs.


                                           16
Case 2:23-cv-03947-CCC-JSA      Document 21      Filed 11/03/23   Page 23 of 35 PageID:
                                       201



 a mere debt unless there is a requirement that the ‘identical money’ be repaid.”

 (citation omitted)).

       Plaintiffs’ conversion claim fails to state a claim for relief. Plaintiffs do not

 expressly allege that they had an immediate right to the property. Am. Compl. ¶ 44

 (asserting that payments must be made in a “timely” manner). Plaintiffs also failed

 to allege any arrangement wherein Milestone was required to segregate the amounts

 USA Sales received from each sale to a customer and remit those segregated

 amounts.

       Additionally, Plaintiffs and USA Sales (and Milestone under Plaintiffs’ alter

 ego theory) also stand in a mere debtor-creditor relationship.         The Amended

 Complaint explains that the applicable contracts delineate the relationship between

 the parties: USA Sales would pay to Plaintiffs a fee for each DOWC product that

 USA Sales sold to a customer. Id. ¶ 51. To evidence that a payment to Plaintiffs

 was required when a sale transaction was complete, each contract between USA

 Sales and a customer noted that the DOWC product was an item for which payment

 to a third-party payee would be made. Id. ¶ 122. As this structure suggests, the

 amounts owed to Plaintiffs after each sale transaction were merely debts owed.

 Indeed, Plaintiffs’ own assertions acknowledge that a debtor-creditor relationship

 exists. Plaintiffs assert that they are “owed funds” for each DOWC product sold, id.

 ¶ 126, and that USA Sales and Milestone wrongfully interfered with that right “by



                                          17
Case 2:23-cv-03947-CCC-JSA       Document 21      Filed 11/03/23   Page 24 of 35 PageID:
                                        202



 not remitting payment” to Plaintiffs. Id. ¶ 123. These allegations stem from the

 obligations under the contracts between DOWC and USA Sales. As a result,

 Plaintiffs asserted a breach of contract claim against USA Sales for its failure to

 remit payment as required by those contracts. Because the basis for the conversion

 claim mirrors the basis for the breach of contract claim (i.e., the failure to pay

 amounts owed after each sale to a third party), the parties stand in a debtor-creditor

 relationship. Plaintiffs should not be permitted to transform a breach of contract

 claim into a conversion claim and effectively seek a second breach of contract claim

 with the same basis.4

       vi.    Count IV: Fraud

       To state a claim for fraud under New Jersey law, a plaintiff is required to

 allege “(1) a material misrepresentation of fact; (2) knowledge or belief by the

 defendant of its falsity; (3) intention that the other person rely on it; (4) reasonable

 reliance thereon by the other person; and (5) resulting damage.” Frederico v. Home




       4
          Courts have dismissed claims for conversion of money under Rule
 12(b)(6). Vita, 2022 WL 376764, at *3 (dismissing a conversion claim under Rule
 12(b)(6) because the plaintiff simply alleged that, according to a contract between
 the parties, the defendants owed her money); Gordon v. Nice Systems, Inc, Civ. A.
 No. 18-2168 (ES)(CLW), 2020 WL 2316278, at *4–5 (D.N.J. May 11, 2020)
 (dismissing conversion claim at the motion to dismiss stage because it was “simply
 a restatement of Plaintiff’s claim for money owed pursuant to the contract at
 issue”); D&D Tech., Inc. v. CytoCore, Civ. A. No. 14-4217 (JLL)(JAD), 2014 WL
 4367314, at *4 (D.N.J. Sept. 2, 2014) (same).


                                           18
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23   Page 25 of 35 PageID:
                                        203



 Depot, 507 F.3d 188, 200 (3d Cir. 2007). These allegations must also meet Rule

 9(b)’s heightened pleading standard. Fed. R. Civ. P. 9(b) (“[A] party must state with

 particularity the circumstances constituting fraud or mistake. Malice, intent,

 knowledge, and other conditions of a person’s mind may be alleged generally.”). To

 get there, the allegations need to include “the date, time and place of the alleged

 fraud or otherwise inject precision or some measure of substantiation into a fraud

 allegation.” Lum v. Bank of America, 361 F.3d 217, 224 (3d Cir. 2004). Plaintiffs’

 allegations of fraud do not sufficiently plead these elements and certainly not in the

 detail required by Rule 9(b) and, therefore, the allegations are not plausible.

       Plaintiffs allege that USA Sales and Milestone represented to DOWC that it

 would be paid the outstanding balance (Am. Compl. ¶ 130); that USA Sales and

 Milestone represented to DOWC that they would pay for the products sold on each

 retail installment sales contract (id. ¶ 131); that USA Sales and Milestone knew that

 they needed to include DOWC products in transactions with consumers (id. ¶ 132);

 that USA Sales CEO represented to DOWC that the company was working with

 Milestone to pay for DOWC products (id. ¶ 133); and that USA Sales and Milestone

 made these representations intending that DOWC rely upon them (id. ¶ 134).

       As an initial matter, Plaintiffs nowhere alleged that the Milestone parties made

 any direct representations to the Plaintiffs. Rather, they simply lump two defendants

 together and allege that “USA Sales and Milestone” made certain representations



                                           19
Case 2:23-cv-03947-CCC-JSA        Document 21      Filed 11/03/23    Page 26 of 35 PageID:
                                         204



 that DOWC would be paid. See, e.g., Am. Compl. ¶¶130-132, 134. But the

 problems with Plaintiffs’ fraud count do not stop there. In addition to there being

 no allegation of any direct representations by the Milestone parties to Plaintiffs,

 nowhere in the Amended Complaint do Plaintiffs allege the “who, what, where,

 when and how” of the alleged fraud. In re Great Atl. & Pac. Tea Co., Inc. Sec. Litig.,

 103 F. App’x 465, 469 (3d Cir. 2004) (quoting DiLeo v. Ernst & Young, 901 F.2d

 624, 627 (7th Cir. 1990)). Without any allegations of direct representations from the

 Milestone parties and insufficient details regarding the alleged fraudulent

 representations to put the Milestone parties on notice of the claim, Plaintiffs fail state

 a claim for fraud.

       vii.   Count V and Count XI: Declaratory Judgment

       In Counts V and XI of the Amended Complaint, Plaintiffs seek a declaration

 that the Milestone parties are “responsible for all consumer refunds and any claims

 made by consumers related to the DOWC products.” Am. Compl. at Count V, Ad

 Damnum Clause at item (d); Count XI, Ad Damnum Clause at item (f).

       First, a declaratory judgment is not an independent cause of action but rather

 a remedy and courts routinely dismiss standalone counts for declaratory relief.

 Chruby v. Kowaleski, 534 Fed. Appx. 156, 160 n.2 (3d Cir. 2013); Kabbaj v. Google

 Inc., 592 Fed. Appx. 74, 75 n.2 (3d Cir. 2015) (affirming dismissal because

 “declaratory and injunctive relief are remedies rather than causes of action.”); Neuss



                                            20
Case 2:23-cv-03947-CCC-JSA      Document 21       Filed 11/03/23   Page 27 of 35 PageID:
                                       205



 v. Rubi Rose, LLC, No. 16-2339, 2017 WL 2367056, at *9 (D.N.J. May 31, 2017)

 (“injunctive and declaratory relief are remedies—not independent causes of

 action.”); Cole v. NIBCO, Inc., No. 13-7871, 2015 WL 2414740, at *15 (D.N.J. May

 20, 2015) (“declaratory relief and injunctive relief, as their names imply, are

 remedies, not causes of action.”); Lee Dodge, Inc. v. Kia Motors Am., Inc., No. 10-

 5939, 2011 WL 3859914, at *1 n.1 (D.N.J. Aug. 31, 2011) (dismissing counts

 because they “are not substantive claims but rather requests for remedies”).

       Second, Plaintiffs have plead no plausible facts that could support such a

 declaration against the Milestone parties. In support of this declaration request,

 Plaintiffs merely claim the Milestone parties:

       (1)    “[I]nfringed upon DOWC’s contractual rights and breached [its]

              obligations to DOWC.” Am. Compl. at ¶ 142. But, Milestone is not a

              party to the underlying agreements and, to the extent this allegation

              suggests tortious interference, Plaintiffs do not make any such

              affirmative claim against Milestone.

       (2)    “[F]ailed to remit payment to DOWC for DOWC Products sold to

              consumers.” Id. ¶ 143; see also id. ¶¶ 144-145, 147. But, Plaintiffs

              have not plausibly alleged why it would be entitled to, or even could

              reasonably expect, any payment from Milestone (as compared to the

              actual party to the contracts, USA Sales).



                                          21
Case 2:23-cv-03947-CCC-JSA        Document 21        Filed 11/03/23   Page 28 of 35 PageID:
                                         206



 To seek a declaration of rights, there must be an adequately pled judiciable

 controversy between the parties, usually declaring the rights of parties to a contract.

 Plaintiffs do not plead any relationship between themselves and the Milestone

 parties. In fact, they plead quite the opposite by alleging no direct contract or

 relationship, but rather only that Milestone parties own or otherwise vaguely control

 USA Sales.

       A claim for declaratory relief is not a cause of action, and even if it were,

 Plaintiffs do not plausibly plead a controversy between them and the Milestone

 parties that would warrant that relief.

       viii. Count VI: Breach of the Implied Covenant of Good Faith and Fair
             Dealing

       All contracts include an implied covenant that the parties to the contract will

 act in good faith. See Sons of Thunder, Inc. v. Borden, Inc., 148 N.J. 396, 420

 (1997); Wilson v. Amerada Hess Corp., 168 N.J. 236, 244 (2001) (“A covenant of

 good faith and fair dealing is implied in every contract in New Jersey.”); Black Horse

 Lane Assoc., L.P. v. Dow Chem. Corp., 228 F.3d 275, 288 (3d Cir. 2000). The

 implied covenant of good faith and fair dealing requires that “neither party shall do

 anything which will have the effect of destroying or injuring the right of the other

 party to receive the fruits of the contract.” Id.

       In the present case, Plaintiffs fail to state a breach of the covenant of good

 faith and fair dealing claim against the Milestone parties for the simple reason that


                                             22
Case 2:23-cv-03947-CCC-JSA       Document 21      Filed 11/03/23    Page 29 of 35 PageID:
                                        207



 there is no contract between these parties, and none is even alleged. Martino v.

 Everhome Mortg., 639 F. Supp. 2d 484, 496 (D.N.J. 2009) (“Plaintiffs do not (and

 cannot) allege that they had a contractual relationship with Cooper, who was

 Alliance Mortgage’s attorney in the foreclosure action. Without a contract, there is

 no duty of good faith and fair dealing, therefore Plaintiffs’ good faith and fair dealing

 claim against Cooper must be dismissed.”).

       ix.    Count VII: Alter Ego

       As set forth above, the alter ego claims against Milestone should be dismissed

 for lack of standing. In addition, the claim is insufficiently pled.

       In New Jersey, two elements are required for an alter ego claim: “First, there

 must be such unity of interest and ownership that the separate personalities of the

 corporation and the individual no longer exist. Second, the circumstances must

 indicate that adherence to the fiction of separate corporate existence would sanction

 a fraud or promote injustice.” State Capital Title & Abstract Co. v. Pappas Bus.

 Servs., LLC, 646 F. Supp. 2d 668, 679 (D.N.J. 2009) (citation omitted). Six factors

 may assist in this determination: “[1] gross undercapitalization . . . [2] failure to

 observe corporate formalities, non-payment of dividends, [3] the insolvency of the

 debtor corporation at the time, [4] siphoning of funds of the corporation by the

 dominant stockholder, [5] non-functioning of other officers or directors, absence of

 corporate records, and [6] the fact that the corporation is merely a facade for the



                                            23
Case 2:23-cv-03947-CCC-JSA      Document 21      Filed 11/03/23   Page 30 of 35 PageID:
                                       208



 operations of the dominant stockholder or stockholders.” Id. (citing Craig v. Lake

 Asbestos of Quebec, Ltd., 843 F.2d 145, 150 (3d Cir. 1988)).

       “Proving that a corporation is merely an alter ego is a burden that is

 notoriously difficult for plaintiffs to meet.” Id. (citation and internal quotation

 omitted). To succeed on an alter ego theory of liability, “plaintiffs must essentially

 demonstrate that in all aspects of the business, the two corporations actually

 functioned as a single entity and should be treated as such.” Id. However, “the bare-

 boned allegations of . . . common control and/or management, standing alone, do not

 rise to the level of plausibility required to survive a 12(b)(6) motion.” Twin Capital

 Partners, LLC, v. Wickstrom, Civ. A. No. 20-02869, 2020 WL 6747026, at *4

 (D.N.J. Nov. 17, 2020) (citation omitted).

       DOWC’s allegations that the Milestone parties are the of alter ego of USA

 Sales are inadequate. DOWC makes general statements regarding “dominion” and

 “control,” but the only factual assertions alleged are that, on a few occasions, USA

 Sales represented that Milestone directed USA Sales to do something. However, as

 with all companies with a vertical corporate structure, a parent company may direct

 a subsidiary to do something. This alone cannot be sufficient for an alter ego claim.

 Moreover, DOWC does not allege any of the six factors. These “bare bones”

 assertions cannot meet the standard under Rule 12(b)(6). Additionally, and to the




                                          24
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23   Page 31 of 35 PageID:
                                        209



 extent Plaintiffs seek to pierce the corporate veil alleging fraud, Plaintiffs fail to

 plead this claim with the specificity required by Rule 9(b).

       x.     Count VIII: Unjust Enrichment

       Under New Jersey law, a claim for unjust enrichment requires allegations that

 (i) the defendant received a benefit at a plaintiff’s expense (ii) under circumstances

 that would make it unjust for defendant to retain the benefit without paying for it.

 Torsiello v. Strobeck, 955 F. Supp. 2d 300, 312 (D.N.J. 2013). A plaintiff must also

 show that it “expected remuneration from [the] defendant at the time it performed or

 conferred a benefit on [the] defendant” beyond its contractual rights. Jurista v.

 Amerinox Processing, Inc., 492 B.R. 707, 754 (D.N.J. 2013). A direct relationship

 between the parties is also required. Maniscalco v. Brother Intern. Corp. (USA),

 627 F. Supp. 2d 494, 506 (D.N.J. 2009) (citing Cooper v. Samsung Elecs. Am.

 Inc., No. 07–3853, 2008 WL 4513924, at *10 (D.N.J. Sept. 30, 2008)). In addition,

 a claim for unjust enrichment must fail if there are allegations comprising other torts

 or an agreement governing the parties’ conduct. Hatteras Press, Inc. v. Avanti

 Computer Sys. Ltd., No. 16-5420, 2017 WL 2838349, at *5 (D.N.J. June 30, 2017);

 Mason v. Coca-Cola Co., Civ. A. No. 09-0220, 2010 WL 2674445, at *7 (D.N.J.

 June 30, 2010).

       Plaintiffs’ claims are fundamentally based on a contract, albeit one to which

 Milestone was not a party. That contractual relationship between Plaintiffs and USA



                                           25
Case 2:23-cv-03947-CCC-JSA      Document 21      Filed 11/03/23   Page 32 of 35 PageID:
                                       210



 Sales defeats an unjust enrichment claim. The Milestone parties are merely indirect

 owners of the parties alleged to have entered contracts with Plaintiffs. It would be

 unreasonable to believe that an owner or shareholder of a company would pay

 amounts owed on account of the company’s agreement. Accordingly, Milestone

 could not have been unjustly enriched as Plaintiffs could not reasonably expect

 remuneration from Milestone.

       Moreover, Plaintiffs did not allege that there was any direct engagement or

 direct relationship between Plaintiffs and Milestone. As set forth in the Amended

 Complaint, Plaintiffs reach Milestone through only the alleged representations from

 USA Sales that Milestone controlled and dominated its operations. Absent a direct

 relationship between Plaintiffs and Milestone, Plaintiffs cannot state a claim for

 unjust enrichment.

       Finally, Plaintiffs have already asserted a breach of contract claim and various

 other torts against USA Sales (and Milestone through an alter ego theory). The basis

 for these claims is the contracts to which Milestone is not a party. Plaintiffs cannot

 seek amounts for unjust enrichment against Milestone when it is also seeking the

 same amounts against USA Sales for the breach of contract that gave rise to the

 allegations of unjust enrichment. Compare Am. Compl. ¶ 111 (alleging damages

 for breach of contract totaling $17,891,519.00), with id. ¶ 173 (alleging damages for

 unjust enrichment totaling $17,891,519.00).



                                          26
Case 2:23-cv-03947-CCC-JSA       Document 21     Filed 11/03/23   Page 33 of 35 PageID:
                                        211



       xi.    Count X: Constructive Trust

       A constructive trust “is an equitable remedy and not an independent cause of

 action.” Balanced Bridge Funding LLC v. Mitnick Law Office, LLC, Civil No. 21-

 20512, 2022 WL 3593892, at *2 (D.N.J. Aug. 23, 2022) (collecting cases). “To

 impose a constructive trust, [courts] must find both that a party committed a

 wrongful act and that, as a result, the recipient was unjustly enriched.” Id.

 (quoting John Hancock Life Ins. Co. (U.S.A.) v. Clemente, No. 20-2772, 2021 WL

 6932819, at *2 (3d Cir. 2021)). A breach of contract claim “alone is not sufficient

 and does not qualify as the type of wrongful act or fraud which would warrant the

 imposition of a constructive trust.” Presten v. Sailer, 542 A.2d 7, 15 (Super. Ct. N.J.

 1988).

       The imposition of a constructive trust also requires the plaintiff to trace the

 funds subject to the constructive trust. See, e.g., U.S. v. $7,599,358.09, Civ. A. No.

 10-5060, 2011 WL 3611451, at *2 (D.N.J. Aug. 15, 2011) (“It is hornbook law that

 before a constructive trust may be imposed, a claimant to a wrongdoer’s property

 must trace his own property into a product in the hands of a wrongdoer . . . In order

 to effectively trace trust funds commingled with other funds, the beneficiary must

 do more than simply trace the trust proceeds into a trustee’s bank accounts.”

 (citations omitted)); see also Hirsch v. Travelers Ins. Co., 341 A.2d 691, 694 (Sup.




                                           27
Case 2:23-cv-03947-CCC-JSA       Document 21         Filed 11/03/23   Page 34 of 35 PageID:
                                        212



 Ct. N.J. 1975) (requiring a party to “trace” funds resulting from a gratuitous transfer

 to a third party to impose a constructive trust).

       There are two problems with Plaintiffs’ constructive trust claim. First, for the

 reasons stated above, Plaintiffs have failed to state a claim for unjust enrichment.

 Without that claim, a remedy for a constructive trust does not lie. See generally

 Flanigan v. Munson, 175 N.J. 597, 608 (N.J. 2003) (the premise of a constructive

 trust is to prevent unjust enrichment); Jurista, 492 B.R. at 771–72 (without the

 “touchstone” of unjust enrichment, plaintiff cannot proceed with a constructive trust

 claim). Second, a constructive trust requires that the property over which a trust is

 sought be readily traceable, particular funds and not merely “some funds” for

 benefits to which a party is contractually entitled. Great–W. Life & Annuity Ins. Co.

 v. Knudson, 534 U.S. 204, 214 (2002). Here, Plaintiffs seek a trust over a sum of

 money which is fungible, presumably comingled with USA Sales’ general funds

 from other business/contracts, and, in any event, not traceable or identifiable as

 particular property or bucket of money in the possession of the Milestone parties.

 Rather, Plaintiffs seek a judgment for money due under its contract with USA Sales,

 which is incompatible with the imposition of a constructive trust.

 IV.   CONCLUSION

       The claims asserted in the Amended Complaint belong to the bankruptcy

 estate and Plaintiffs do not have the right to pursue them here. Moreover, even if



                                            28
Case 2:23-cv-03947-CCC-JSA       Document 21      Filed 11/03/23   Page 35 of 35 PageID:
                                        213



 the Plaintiffs could bring these claims in this Court, they fail to plausibly allege any

 viable claims against the Milestone parties. The Court should, accordingly, dismiss

 the claims in the Amended Complaint against Milestone.

                                             Respectfully submitted,


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                                           29
